Exhibit 48
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Dark Storm Industries (DSI) Rifles and Accessories Now
Distributed by Camfour
Ammoland Inc. Posted on March 14, 2018 by Laura Burgess




Camfour, a leader in wholesale firearms distribution, will now carry the full line of
DSI AR-style rifles and accessories.
               Dark Storm Industries DSI-15 Typhoon Standard rifle



Oakdale, N.Y. (Ammoland.com) – Dark Storm Industries (DSI), a New York-
based firearms manufacturer, is pleased to announce their full line of DSI rifles will
now be available to FFL dealers through Camfour.




   “Camfour is one of the leading firearms distributors in the nation,” Ed
   Newman, co-founder and owner of DSI said. “Their reputation within the
   industry is stellar. Camfour is focused on providing superior service to their
   dealers, as well as their manufacturers. We look forward to a long and
   productive relationship with this top tier firearms distributor.”

   “Camfour is pleased to be representing Dark Storm Industries quality line of
   AR platform custom built rifles. This innovative company has addressed
   most of the compliance obstacles experienced by dealers and consumers
   in many states across the nation with specific compliant AR SKUs,” Bill
   Howe, VP of Operations for Camfour added. “This is a solution-based
   company we’re proud to represent and look forward to growing our
   business with Dark Storm.”

Camfour was founded in 1952 by the late Al Ferst, in Springfield, Massachusetts.
In the early years, Camfour distributed a variety of products in the outdoor, fishing
and hunting markets. Eventually, Camfour reestablished itself in Westfield,
Massachusetts and focused solely on the firearms industry. Camfour has lead the
technology revolution in the firearms distribution sector by introducing PCGun, an
online ordering software, in 1984 and again this year with the new EZGun
software for dealers. EZGun offers dealers the ability to have instant access to
inventory and the ability to order 24/7. In 2003, Camfour purchased Hill Country
Wholesale in Pflugerville, Texas. Camfour Inc. / Hill Country Wholesale now
serves their customers from two locations.




DSI, launched in 2012, as a result of two individuals frustrated by local dealers
who did not stock AR style rifle parts, has focused on providing the shooting
enthusiast, in any state, an AR platform modern sporting rifle designed and built
like a custom gun, but not at custom prices. DSI rifle receivers, bolt carrier groups,
barrels and other parts are USA made. Patented lowers give DSI the edge when
it comes to providing exceptional compliant rifles to all 50 states. DSI rifles come
in a variety of configurations in the standard, fixed mag and “featureless” models
and in a variety of calibers from .22LR, 5.56, .300 Blackout, 9mm, .308 and 6.5
Creedmoor.

For more information, visit www.dark-storm.com.



About Dark Storm Industries LLC:

Dark Storm Industries is a New York based firearms manufacturer specializing in
modern sporting rifles. Founded in 2013, Dark Storm Industries developed the DSI
line of rifles to meet the changing regulatory
environment in states like New York and
California. www.dark-storm.com




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                                      Article Rating




6 COMMENTS                                                                         



         Erica Reinhard
          3 years ago

All of these negative comments are foolish and perhaps this is why the anti-gunners are
still around. Instead of supporting our 2nd amendment rights ALL throughout America
and standing firm they point to those comments and say we are all rightists red necks.
There are many many folks here on Long Island and throughout New York who are
staunch 2nd amendment supporters and would never let “them” grab our guns. Please
put your wide brush down and support those of us who are here in New York.
Remember most of the gun makers were here in NY and New England… Read more »

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                 tomcat
                  Reply to Erica Reinhard  3 years ago

       @erica just wondering, if N.Y. is so flourished with 2A supporters how did it happen
       that Commo and DeBlas got elected and pulled the anti 2A stunts they did? Just
       saying……

           0




         Ku
          3 years ago

DSI saved the Second Amendment in NYS. At a time when gun dealers found it easier
to succumb to the will of communist nazi politicians that only their law enforcement
personnel be “allowed” AR type rifles, by putting up signs “LAW ENFORCEMENT
ONLY”, DSI continued to sell to the public, at great legal expense to themselves,
fighting for a legal path to citizen ownership of these rifles. They are great guys, and
deserve support. I built a custom rifle using their billet lower and a complete upper –
AND I LOVE THAT BADASS RIFLE. Being in business, they did all… Read more »

   1




         tomcat
          3 years ago

That was my first thought, located in New York???????? Thanks but I think I will stick
with what I have.

   0
          KyKPH
           3 years ago

A very nice looking piece of equipment. However, these days, I am having a difficult
time supporting any company based in such anti-gun states such as New York or
Massachusetts.

   0



                   JS
                    Reply to KyKPH  3 years ago

       Yeah, no kidding….

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